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Attorney or Party without Attorney: For Court Use Only
Kyle Roche, Esq.
Roche Freedman LLP
99 Park Avenue, Suite 1910
New York, NY [0016
Telephone No: 646-350-0527

Ref. No. or File No.:

Attorney for: Plaintiff
insert name of Court, and Judicial District and Branch Court:
United States District Court - Northern District Of California
Plaintig: Daniel Vatenti, et al.
Defendam: Dfinity USA Research LLC, et al.
PROOF OF SERVICE Hearing Date: Time? DeptDiv: Case Number:
Summons & Complaint 21CV06118ID
1, At the time of service I was at least 18 years of age and not a party to this action,

2. 1 served copies of the Summons in a Civil Action Class Action Complaint; Civil Cover Sheet; Class Actions Subject to Private
Securities Litigation Reform Act and ADR Deadlines; Notice of Assignment; Standing Order for All Judges; Standing Order for
Civil Cases Before Judge James. Donato; Standing Order for Civil Jury Trials Before Judge James Donato; Standing Order for
Discovery in Civil Cases Before Judge James Donato

3. a. Party served: Dfinity Foundation by serving Dfinity USA Research, LLC, General Manager for
Dfinity Foundation ‘
b. Person served: Melvin Bautista, Service of Process Intake Clerk
4, Address where the parly was served: C T Corporation
330 N. Brand Blvd.
Suite 700

Glendale, CA 91203
5. I served the party:
a, by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
process for the party (1) on: Fri., Nov. 05, 2021 (2) at: 12:40PM

7, Person Who Served Papers: Recoverable Cost Per CCP 1033.5(aX(4XB)
a. Douglas Forrest d. The.Fee for Service was:
b. Class Action Research & Litigation e. Iam: (3) registered California process server
P.O Box 740 @)} Independent Contractor
Penryn, CA 95663 (ii) Registration No.: 5141
@: (916) 663-2562, FAX (916) 663-4955 (iii) County: Los Angeles

8 I declare under penalty of perjury under the laws of the State of Callfornia that the foregoing is,(rue and correct,

Date: Mon, Nov. 08, 2021

Rute2. 15 eS ee eee 1, 2007 EROOF OF SERVICE, (Dqelas Forrest) kyroc.225609
